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VAN−082 Appeal Memorandom − Rev. 02/07/2017

                           UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF NORTH CAROLINA
                                                Raleigh Division

IN RE:
Rodney Allen McCowan                                      CASE NO.: 09−10347−8−SWH
1436 Cabrillo Avenue
Burlingame, CA 94010                                      DATE FILED: November 30, 2009

                                                          CHAPTER: 7




                                                 MEMORANDUM

Pursuant to Rule 8009, Federal Rules of Bankruptcy Procedure, within fourteen (14) days after filing the
notice of appeal, entry of an order granting leave to appeal, or entry of an order disposing of the last timely
motion outstanding, the appellant must file with the court, a designation of the items to be included in the
record on appeal and a statement of issues to be presented. A copy must be served on the appellee.

Within fourteen (14) days after service of the appellant's statement, the appellee may file a designation of
additional items to be included in the record. A copy must be served on the appellant.

If the record designated by any party includes a transcript of any proceeding or a part thereof, the party
must file with the clerk, a written request for the transcript. The cost of the transcript is the responsibility of
the requesting party.

DATED: July 9, 2018

                                                          Stephanie J. Butler
                                                          Clerk of Court
